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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                      §
                                            §
v.                                          §          Case No. 3:19-cv-03016-X
                                            §
GRANT STINCHFIELD                           §

                         PLAINTIFF’S MOTION TO COMPEL


        Plaintiff, Ackerman McQueen, Inc. (“AMc”), files this Motion to Compel (the

“Motion”) and asks the Court to compel Defendant, Grant Stinchfield, to answer an

interrogatory and produce certain documents in response to AMc’s written discovery

requests. In accordance with the Local Rules, this motion is supported by the Brief filed

contemporaneously herewith, which sets forth AMc’s contentions of fact and argument

and authorities. The evidence in support of this motion is contained in the Appendix

filed contemporaneously herewith.

        WHEREFORE, AMc respectfully requests the Court to grant the following relief

with regard to AMc’s interrogatories and requests for production:

        1. Overrule Stinchfield’s objections based on undue burden and overbreadth:
           Interrogatory No. 11, RFPs Nos. 2-4;

        2. Overrule Stinchfield’s objections based on the attorney-client privilege and
           work product doctrine: RFP Nos. 2-4;

        3. Overrule Stinchfield’s relevance objections: RFP Nos. 17-19;

        4. Compel complete production of the requested documents and information


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         within 10 days of this Court’s Order; and

      5. any further relief, at law or in equity, to which AMc may be justly entitled.

   Dated: September 22, 2020.

                                               Respectfully submitted,

                                               /s/ J. Brian Vanderwoude
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                           CERTIFICATE OF CONFERENCE

       I hereby certify that on multiple occasions, including but not limited to September

22, 2020, September 15, 2020, June 9, 2020, and March 11, 2020, I conferred with Ian Shaw,

counsel for Defendant, concerning the merits of this motion. Counsel for Defendant is

opposed the relief sought in this motion.



                                                 /s/ Brian Vanderwoude
                                                 J. Brian Vanderwoude




                              CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2020, I filed the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Texas. I hereby certify

that I have served the document on all counsel and/or pro se parties of record by a manner

authorized by Federal Rules of Civil Procedure 5(b)(2).



                                                 /s/ Brian Vanderwoude
                                                 J. Brian Vanderwoude




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